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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF ILLINOIS


 ALLEN GARLAND,
                                                        CASE NO. 20-cv-00269
                       Plaintiff,

 v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

                       Defendant.

                                        ENTRY OF APPEARANCE

       COMES NOW James G. Onder of Onder Law, LLC and enters his appearance on behalf of Plaintiff

Allen Garland in the above captioned matter.



DATED: MARCH 26, 2020                        ONDERLAW, LLC

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